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[December 5, 2002 SENATE JOURNAL I
DDL es Jack Noble(R)

SENATE J OURNAL Be ees Fred Kennedy(D)

OF THE 23 eee Tom Gannon(R)

24 ce eee eee eee Laird Noh(R}

ID AHO LEGISL ATURE DS eee Clint Stenneti(D)
26 eee Dean L. Cameron(R)

ZT ewes Denton Dartrington{R)

ORGANITZATIOGNAL SESSION 2B ee J. Stanley Williams(R)
FIFTY-SEVENTH LEGISLATURE 2D eee et eee eee Bert Marley(D)

BO ee ees Edgar J. Malepeai(D)

BE ees Robert L. Geddes(R)

BD te es Melvin “Mel” Richardson(R)}

FIRST LEGISLATIVE DAY 3 Le ee Bart Brent HEIR
THURSDAY, DECEMBER 5, 2002 BB es ..... Don M. Burtenshaw(R)

Senate Chamber

At the hour of 9 a.m. on Thursday, December 5, 2002, the
time established for the convening of the Organizational Session
of the Fifty-Seventh Idaho Legislature, the members elected to the
Senate convened in the Senate Chamber of the Capitol in the city
of Boise for an organizational session, President Jack Riggs
presiding.

The following Certificate of Election was read by the
Secretary of the Senate:

STATE OF IDAHO
OFFICE OF THE SECRETARY OF STATE

CERTIFICATE OF ELECTION
I, PETE T. CENARRUSA, Secretary of State of the State
of Idaho and legal custodian of the records of elections held in the
State of Idaho, do hereby certify that the following is a full, true,
and complete list of those elected to serve as members of the
Senate of the First Regular Session of the Fifty-seventh
Legislature, as shown by official records on file in my office:

DISTRICT NAME
Lice ee eee Shawn A. Keough(R)
De ee ees Martha “Marti” Calabretta(D)
Boe ee tee eee Kent M. Bailey(R)
A ee ees John W. Goedde(R)
Se eee Dick Compton(R)
Ge eee ete eee Gary J. Schroeder(R}
To ee ets Joe Stegner(R)
Be eee R. Skipper "Skip" Brandt(R)
Dec eae Monty J. Pearce(R)

WO. es Ron MeWilliams(R)

Wee cee treet e eens Brad Littie(R)

WD es Curt McKenzie(R)

1D Le ee es Patti Anne Lodge(R)

4 le ee Hal Bunderson(R)

VG es John C. Andreason(R)

LQ eee ee Cecil D, Ingram(R)

UD eens Elliot Werk(D)

TR ee ee Sheila A. Sorensen({R}

WD Ll ee ens Mike Burkett(D)

ZO cc ee ee eee Gerry Sweet(R)

IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise,
the Capital of Idaho, this Twentieth day of Novernber, in the year
of our Lord, Two Thousand and Two, and of the Independence
of the United States of America, the Two Hundred and
Twenty-seventh.

/si PETE T. CENARRUSA
Secretary of State

The Certificate of Election was ordered filed in the office of
the Secretary of the Senate.

Roll call showed all members present.

The Oath of Office was administered to the members of the
Senate by President Riggs.

Prayer was offered by Senator J. Stanley Williams.

On request by Senator Davis, granted by unanimous consent,
the Senate advanced to the Tenth Order of Business.

Motions and Resolutions

At this time, the Senators selected their seats pursuant to
Senate Rule 3{B). On request by Senator Davis, granted by
unanimous consent, the seats presently occupied by the Senators
were permanently assigned to them for the Fifty-seventh Idaho
Legislature.

On motion by Senator Davis, seconded by Senator Stennett,
by voice vote the Rules of the Senate and the Joint Rules of the
Senate and House as adopted by the Fifty-sixth Idaho Legislature
were adopted as the temporary Rules of the First Regular Session
of the Fifty-seventh Legislature of the State of Idaho.

Moved by Senator Davis, seconded by Senator Stennett, that
Senator Robert L. Geddes be elected President Pro Tempore of
the Senate for the Fifty-seventh Idaho Legislature. The question
being, “Shall the motion prevail?”

‘Roll call resulted as follows:
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[December 5 HOUSE JOURNAL 1
DS cc cccccecensetesaeeeeeeeees Wendy Jaquet (D), Tim Ridinger (R}
26 ocecceeeeeee Jobn A. “Bert” Stevenson (R), Maxine T, Beil (R)
QT heiveneneeeeee scene eeeeneeeee Scott Bedke (R), Bruce Newcomb (R}
2B i ccceneeeecsaseeeeeeneenes Dennis Lake (R), Joseph $8. Cannon (R)
QD i aicceeesessnnneeeeeene Allen Andersen (D), Elmer Martinez (D)
BO ee ceeeee eee tteete es eereneeaeens Donna Boe (D), Elaine Smith (D)
BL le eeeeeee cease Larry Bradford (R), Eulalie Teichert Langford (R)
BD eeceeeenecnesae ee eee ees Janice McGeachin (R), Ann Rydalch (R}
B38 oe ccceceeeeeeeneeeeeenes Jack Barraclough (R), Lee Gagner (R}
B34 eeeeessseneereeee nse ees Mack G. Shirley (R), Dell Raybould (R)
BS i ecce reece eee evees JoAn E. Wood (R}, Lenore Hardy Barrett (R)

ORGANIZATIONAL DAY
THURSDAY, DECEMBER 5, 2002

House of Representatives

At the hour of 9 a.m., on Thursday, December 3, 2002, the
members-elect of the House of Representatives convened in the
House Chamber of the Capitol Building in the City of Boise, with
the Honorable Bruce Newcomb, Speaker of the House of the
Fifty-sixth Legislature presiding, assisted by Pamm Juker, Chief
Clerk of the Fifty-sixth Legislature.

The Chief Clerk read the official proclamation as follows:

I, PETE T. CENARRUSA, Secretary of State of the State of
Idaho and legal custodian of the records of elections held in the
State of Idaho, do hereby certify that the following is a full, true
and complete list of those elected to serve as members of the
House of Representatives of the First Regular Session of the
Fifty-seventh Legislature, as shown by official records on file in
my office:

DISTRICT NAME

LD ieeceseeeeeeeaeee John L. Campbell (R), George E. Eskridge (R}
2 eeeeeeee eee R.J. “Dick” Harwood (R), Mary Lou Shepherd, (D)
Bl eeeteeeeea ee eteeseae es James W. Clark (R), Wayne R. Meyer (R}
A eccceeeeeterenteer ene eeees Bonnie Douglas (D), George Sayler (D}
BS ecccccececececeseeseeneeeuees Hilde Kellogg (R), Charles Eberle (R)
Oleic crete tata eeu ne eeaa ees TomTrail (R), Shirley G. Ringo (D)
DT oceceaeneeteven sents tees euens Mike Mitchell (DP), Mike Naccarato (D)
Bec cecceeceeeeere ees Ken A. Roberts (R), Charles D. Cuddy (D)
DD licccccacaseeeees Lawerence E, Denney (R), Clete Edmunson (R)}
LO vo oeeeceseeeeerereceeres Robert “Bob” Ring (R), Darrell Bolz (R)
LL lee eee eee eae Kathy Skippen (R), Gary W. Bauer (R}
12 eects tetera Robert E. Schaefer (R}, Gary E. Collins (R}
1B eee eee Dolores J. Crow (Rj), W.W. “Bill” Deal (R)
VA ee cecceeeceeeeeteeseeea es Mike Moyle (R}, Henry Kulozyk (R)}
LS Lecce eee ee eee eee reeeeenees Steve Smylie (R), Max C. Black (R)
16 i iiceeeeeees sean eee Margaret Henbest (D}, David Langhorst (D}
ET oe cceceecenetereneeneasaeene Kathy Garrett (R), Janet J. Miller (R)
EB eee ee teeter eee ees Debbie Field (R}, Julie Ellsworth (R)
19 eee David H. Bieter (D), Ken Robison (D)
20 eee ce sees e a aes Mark A. Snodgrass (R), Shirley McKague (R)
QA Lecce eecct eer eeeee ee William T. “Bill” Sali (R), Fred Tilman (R)
DD leeecceeeceeeeeeneeeeeeeceeuees Richard Wills (R), Peter Nielsen (R)
D3 Lecce eee eeeeeeeeeeten ees Frances Field (R)}, Douglas R. Jones (R)

QA esceeeenene eb eneestpseeaeeenene Leon Smith (R), Sharon Block (R)

IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise,
the Capital of Idaho, this Twentieth day of November, in the year

-of our Lord, two thousand and two, and of the Independence of

the United State of America, the two hundred and twenty-
seventh,

‘si PETE T. CENARRUSA
Secretary of State
The Certificate of Election was ordered filed in the office of
the Chief Clerk.

Roll call showed ail 70 members present.

At this time, the Speaker administered the oath of office to
all members-elect.

Prayer was offered by Representative Henbest.
The Pledge of Allegiance was led by Representative Henbest.

There being no objection, the House advanced to the Seventh
Order of Business.

Motions, Memorials and Resolutions

Nominations were declared im order for the Speaker of the
House.

Mr. Denney presented in nomination the name of
Mr. Bruce Newcomb. Seconded by Ms. Jaquet.

Mr. Denney asked unanimous consent that nominations cease
and that a unanimous ballot be cast for Mr. Newcomb. There
being no objection, it was so ordered and Mr. Bruce Newcomb
was elected Speaker of the House.

At this time, Mr. Denney and Ms. Jaquet escorted
Mr. Newcomb to the podium where the oath of office was
administered to him by Representative Wood,

At this time, Speaker Newcomb took the Chair,

Mr, Denney moved that the House adopt as Temporary
Rules and Temporary Joint Rules for the First and Second
Case 1:08-cv-00165-BLW Document 60-16 Filed 09/29/10 Page 3 of 6

[December 2, 2004 SENATE JOURNAL 1
SENATE JOURNAL QL cece eee eee tne n tee anee Jack Noble(R)

BD ccc ce cence eee enteaee Tim Corder, Sr.(R)

OF THE DB ccc cece renee eae eens Tom Gannon{R)

24 eee ete teens Charles Ri. Coiner(R}

ID AHO LEGI SL ATURE D5 ec eee eee Clint Stennett(D)
26 Lee ee eee Dean L. Cameron(R)

ZT Lecce eee ee ee Denton Darrington(R)

ORGANIZATIONAL SESSION BB cece cece este eee ees J. Stanley Williams(R)
FIFTY-EIGHTH LEGISLATURE BD cee cect eee eee ees Bert C, Marley(D}

BO eee eee eee aes Edgar J. Malepeai(D)

BL cect eee ee teen tere eens Robert L. Geddes(R}

BZ cee ect ene eee Melvin “Mel” Richardson(R)

FIRST LEGISLATIVE DAY x Lente eee tenner e te eae eee roars
THURSDAY, DECEMBER 2, 2004 BS cece ett Den M. Burtenshaw(R}

Senate Chamber

At the hour of 9 am. on Thursday, December 2, 2004, the
memibers-elect of the Senate of the Fifty-eighth Idaho Legislature

convened in the Senate Chamber of the Capitol in the city of Boise
for an organizational session, President Pro Tempore Robert L.
Geddes presiding.

The following Certificate of Election was read by the
Secretary of the Senate:

STATE OF IDAHO
OFFICE OF THE SECRETARY OF STATE

CERTIFICATE OF ELECTION
L BEN YSURSA, Secretary of State of the State of Idaho and
legal custodian of the records of elections held in the State of
Idaho, do hereby certify that the following is a full, ime, and
complete list of those elected to serve as mernbers of the Senate of
the First Reguler Session of the Fifty-eighth Legislature, as shown
by official records on file in my office:

DISTRICT NAME
Lecce cee eee ee eee tee eres Shawn A. Keough(R)
Dc ccc eee teen ees Joyce M. Broadsword(R)
Bee teens Michael “Mike” Jorgenson(R)
Bcc eee eee John W. Goedde(R)
Bcc eee teen eens Dick Compton(R)
Bec c cece e eect e neta Gary J. Schroeder{R)
Tice c cee een c a tenet ene aw nee Joe Stegner{R)
Bocce ree eee eee eee ee R. Skipper "Skip" Brandt(R)
Dee cre cee tent eenes Monty J. Pearee(R)
LO eect eects John T. McGee(R}
LL cece cee ee eee Brad Litile(R)
V2 cece ec ee eee Curt McKenzie(R)
Lace eeeeee ee Patti Anne Lodge(R)
LA cee eect eee ees Hal Bunderson(R)
VD cece cetera rete John C. Andreason(R)
LG cece eee eee David Langhorst(D}
VD eee ccc etter eee e tenes Elliot Werk(D)
TR ec cee ee Kate Kelly(D)
TO cece eter e ete een eee Mike Burkett(D)
ZO ee eee ees Gerry Sweet(R)

_IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise, the
Capital of idaho, this Seventeenth day of November, in the year of
our Lord, Two Thousand and Four, and of the Independence ofthe
United States of America, the Two Humdred and Twenty-ninth.

/sf BEN YSURSA
Secretary of State

The Certificate of Election was ordered filed in the office of
the Secretary of the Senate.

Roil call showed all members except Senator Coiner, absent
and formally excused by the Chair.

The Oath of Office was administered previously by Governor
Kempthorme to President Pro Tempore Geddes. The Oath of
Office was administered to the members ofthe Senate by President
Pro Tempore Geddes.

Prayer was offered by Chaplain Don Hardenbrook, Associate
Pastor, Nampa Church of the Brethren, Nampa, Idaho.

The Pledge of Allegiance was led by Rusti Horton, Assistant
Secretary of the Senate.

On request by Senator Davis, granted by unanimous consent,
the Senate advanced to the Eighth Order of Business.

Messages from the Governor

December 1, 2004

The Honorable Robert L. Geddes
President Pro Tempore of the Senate
Idaho State Senate

Dear President Pro Tempore:

I have the honor to inform you that [ have appointed Laird
Noh of Kimberly, Idaho, te be Acting State Senator for Legislative
District 24, Twin Falls County, State of Idaho. This appointment
is effective Thursday, December 2, 2004, and Friday, December 3,
2004.

Sincerely,
‘sf Dirk Kempthome
Governor
Case 1:08-cv-00165-BLW Document 60-16 Filed 09/29/10 Page 4 of 6

[December 2 HOUSE JOURNAL 1
26 cesses eee John A. “Bert” Stevenson (R)}, Maxine T. Bell (R)
QT viaeceecect en eeteseecesasunes Scott Bedke (R), Bruce Newcomb (R}
28 ciiceceneeeeteer een ees Dennis M. Lake (R), Joseph S. Cannon (R)}
29 cece cece cere e eee tee ees Ken Andrus (R), Elmer Martinez (D)}
BO eece see eee eeeeeweeeeeeu een enes Donna Boe (D), Elaine Smith (D)
BL eee cece cece ee eee ees Larry Bradford (R), Tom Loertscher (R)
BD eee cate ease eeeeseenee Janice McGeachin (R), Ann Rydalch (R)
BB oi ecseceeeeeeeeeneeetenee Jack Barraclough (R), Russ Mathews (R)
BA Lecce cette eee eee Mack G. Shirley (R), Delf Raybould (R)
BS ei ce tesa ee ee ene JoAn E. Wood (R), Lenore Hardy Barrett (R)}

ORGANIZATIONAL DAY
THURSDAY, DECEMBER 2, 2004

House of Representatives

At the hour of 9 a.m., on Thursday, December 2, 2004, the
members-elect of the House of Representatives convened in the
House Chamber of ihe Capitol Building in the City of Boise, with
the Honorable Bruce Newcomb, Speaker of the House of the
Fifty-seventh Legislature presiding, assisted by Pamm Juker,
Chief Clerk of the Fifty-seventh Legislature.

The Chief Clerk read the official proclamation as follows:

I, BEN YSURSA, Secretary of State of the State of Idaho
and legal custodian of the records of elections held in the State of
Idabo, do hereby certify that the following ts a full, true and
complete list of those elected to serve as metubers of the House
of Representatives of the First Regular Session of the Fifty-eighth
Legislature, as shown by official records on file in my office:

DISTRICT NAME

L liecsececceeeeeeeee tees Eric Anderson (R), George E. Eskridge (R)
2D eesereeeens R.J. “Dick” Harwood (R), Mary Lou Shepherd, (D)}
Bec ec eee eceeeeeeeeeeeeeneeeeeeees James W. Clark (R), Phil Hart (R}
Ai iececeeeeeestaee neers Marge Chadderdon (R), George Sayter (D)
BD leceeneeeeeeeeseeeeeeeaes Bob Nonini (R), Frank N. Henderson (R)
G eicccceceeeecceneeeeessuenees Tom Trail (R), Shirley G. Ringo (D)
To cecsecutesesesesestesssersseets Mike Mitchell (D), John Rusche (D)
Bi eeeeeeeee ee eeee eens Ken A. Roberts (R), Paul E. Shepherd (R)
D Lecececeeeen eens Lawerence E. Denney (R), Clete Edmunson (R)
LO Leeeeceeeeeeeeeeee eres Robert “Bob” Ring (R), Darrel Bolz (R)
V1 eect reece Kathy Skippen (R), Carlos Bilbao (R}
12 Lecce ee ee ences Robert E. Schaefer (R), Gary FE. Collins (R)
13 ceeeeceeeee eee ere es Dolores J. Crow (R), W.W. “Bill” Deal (R)
14 occ cee ce cece ee eeeeeee Mike Moyle (R), Stan Bastian (R)
LS oe cececce ce pece eee eea eee eeane Steve Smylie (R), Max C. Black (R)
1G eeceescteeeeeer entrees Margaret Henbest (D), Jana M. Kemp (R)
17 eee eecee ce ee ee eee eee eee eee Kathy Garrett (R), Janet J. Miller (R)
1B oe eee eee sseceeeeeeueee neues Debbie Field (R), Julie Ellsworth (R}
19 i eeeceeeeee reece Anne Pasley-Stuart (D), Nicole LeFavour (D)
20 oe eeeececeeeeeeues Mark A. Snodgrass (R), Shirley McKague (R)
21... William T. “Bill” Sali (R), Clifford R. “Cliff Bayer (R)
DD i iieececeeeenteeeneateneeeenenes Richard Wills (R), Pete Nielsen (R)
QS Lie ceceeeeceteeerecsceeee Frances Field (R}, Douglas R. Jones (R)
D4 ieee cecceeeeereererentaees Leon &, Smith (R), Sharon Block (R)

D5 eee ectceeee nent eeeeeeenees Wendy Jaquet (D), Donna Pence (D)

IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise,
the Capital of Idaho, this Seventeenth day of November, in the
year of our Lord, two thousand and four, and of the
Independence of the United States of America, the two hundred
and twenty-ninth.

‘sf BEN YSURSA
Secretary of State

The Certificate of Election was ordered filed in the office of
the Chief Clerk.

Roll call showed all 70 members present.

At this time, the Speaker administered the oath of office to
all mermbers-elect.

Prayer was offered by Corporal John Burke, Idaho State
Police.

The Pledge of Allegiance was led by Corporal John Burke,
Idaho State Police.

There being no objection, the House advanced to the Seventh
Order of Business.

Motions, Memorials, and Resolutions

Nominations were declared in order for the Speaker of the
House.

Mr. Denney presented in nomination the name of
Mr. Bruce Newcomb. Seconded by Ms. Jaqueé.

Mr. Denney asked unanimous consent that nominations cease
and that a unanimous ballot be cast for Mr. Newcomb. There
being no objection, it was so ordered and Mr. Bruce Newcomb
was elecied Speaker of the House.

At this time, Mr. Denney and Ms. Jaquet escorted
Mr. Newcomb to the podium where the oath of office was
administered to him by Representative Wood.

At this time, Speaker Newcomb took the Chair.

Mr, Denney moved that the House adopt as Temporary
Rules and Temporary Joint Rules for the First and Second
Case 1:08-cv-00165-BLW Document 60-16 Filed 09/29/10 Page 5 of 6

[December 7, 2006 SENATE JOURNAL 1
Da cnr eee eee eee tenes Clint Stennett(D)

SENATE J OURNAL 26. cece cette eee reer t ete Dean L. Cameron(R)

OF THE DT eee eee eens Denton Darrington(R)

2B cee eee R, Steven Bair{R)

IDAHO LEGISLATURE sg Deane Mien
decent eee bee etna dgar ¥. Malepeai(D)

Bhi eee ccc cect eee eee tees Robert L. Geddes(R)

ORGANIZATIONAL SESSION BQ eee cece eee eee es Melvin “Mel” Richardson{R}
FIFTY-NINTH LEGISLATURE BB cece cece ete es Bart M. Davis(R)

BAL cece ctr ee eee Brent Hill(R)

Ba eee eee teeter nee eee e eee Jeff C. Siddoway(R)

FIRST LEGISLATIVE DAY
THURSDAY, DECEMBER 7, 2006

Senate Chamber

At the hour of 9 a.m. on Thursday, December 7, 2006, the
members-clect of the Senate of the Fifty-ninth Idaho Legislature
convened in the Senate Chamber of the Capitol in the city of Boise
for an organizational session, President Mark G. Ricks presiding.

The following Certificate of Election was read by the
Assistant Secretary of the Senate:

STATE OF IDAHO
OFFICE OF THE SECRETARY OF STATE

CERTIFICATE OF ELECTION
I, BEN YSURSA, Secretary of State of the State of Idaho and
legal custodian of the records of elections held in the State of
Idaho, do hereby certify that the following is 2 full, true, and
complete list of those elected to serve as members of the Senate of
the First Regular Session of the Fifty-ninth Legislature, as shown
by official records on file in my office:

DISTRICT NAME
Lice eee eee eee Shawn A. Keough(R)
Qe cece teeter e nee Joyce M. Broadsword(R)
BL ee ee Michael “Mike” Jorgenson(R}
Boece een nets John W. Goedde(R}
Doce eee ccc eee e eee eee neues Jim Hammond(R}
Occ e tener renee Gary J. Schroeder(R}
Vice cece teen ete erence b eee eeaeaee Joe Stegner(R)
Boe eee eee Leland G. “Lee” Heinrich(R)}
Qo cee eee eee Monty J. Pearce(R)
LO. eee ccc eee eee eee John T. McGee(R)
LD ee ec e eee eeee Brad Little(R)
Lo. cc et eee ete eens Curt McKenzie(R)
LB. cere tees Patti Anne Lodge(R)
V4 cece eee Stan Bastian(R)
lS, eee eee John C, Andreason(R)
LQ. eee eee ce ee eee eee David Langhorst(D)
LP cece ccc cette entree eee tenes Elliot Werk(D)
LB eee teen ete eee Kate Kelly(D)
DQ. ccc cee ee eee eee eee Mike Burkett(D)
QO. eee ee et eee eee Gerry Sweet(R)}
2h. cee eee Lene eeenes Russell M. Fulcher(R}
BL cee ee eee eee Tim Corder, Sr.(R)
DB ccc eee eee eens Tom Gannon(R}

QA eee v cece ee cece eeeeeeeeees Charles H. Coiner(R}

IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise, the
Capital of Idaho, this Twenty-fourth day of November, in the year
of our Lord, Two Thousand and Six, and of the Independence of
the United States of America, the Two Hundred and Thirty-first.

/s/ BEN YSURSA
Secretary of State

The Certificate of Election was ordered filed in the office of
the Secretary of the Senate.

Roll call showed all members present.

The Oath of Office was administered to the members of the
Senate by President Ricks.

Prayer was offered by Chaplain Don Hardenbrook, Associate
Pastor, Nampa Church of the Brethren, Nampa, Idaho.

The Pledge of Allegiance was led by Sarah Jane McDonald,
Sergeant at Arms.

On request by Senator Davis, granted by unanimous consent,
the Senate advanced to the Tenth Order of Business.

Motions and Resolutions

On motion by Senator Davis, seconded by Senator Stennett,
by unanimous voice vote Senator Robert L. Geddes was elected
President Pro Tempore of the Senate for the Fifty-ninth Idaho
Legislature.

The President administered the Oath of Office to President
Pro Tempore Geddes.

On motion by Senator Davis, seconded by Senator Stennett,
by unanimous voice vote Jeannine Wood was elected Secretary of
the Senate for the Fifty-ninth Idaho Legislature.

The President announced that the Secretary of the Senate will
be administered the Oath of Cffice when the Senate reconvenes in
January.

On motion by Senator Davis, seconded by Senator Stennett,
by voice vote the Rules of the Senate and Joint Rules of the Senate
and House of Representatives, as adopted by the First
Extraordinary Session of the Fifty-eighth Idaho Legislature, were
adopted as the Rules of the Senate and Joint Rules of the Senate
and House of Representatives of the Fifty-ninth Legislature of the
State of Idaho.
Case 1:08-cv-00165-BLW Document 60-16 Filed 09/29/10 Page 6 of 6

[December 7 HOUSE JOURNAL 1
DS cei cccececenensnetr enters entre Wendy Jaquet (D), Donna Pence (D)
2G veeeeeeereeae Jobn A. “Bert” Stevenson (RK), Maxine T. Beli (R)
QT wiececeeeecece ene ne nen eeeneeeeeees Scott Bedke (R), Fred Wood (R}
QB oe ecccececreesecete eee erenes Dennis M. Lake (R}, Fim Marriott (R)
2D Le ececerrersretrneneieereees Ken Andrus (R), James D, Ruchti (D)
BO ieee ee eeeeeee etter een ee eee Donna Boe (Dj, Elaine Smith (D)
BL eee eese sents eee Larry C. Bradford (R}, Tom Loertscher (R)
32 eee Janice K. McGeachin (R), Dean M. Mortimer (R)
Ba le ececece ncn ecsnteetuenensns Jerry Shively (D), Russ Mathews (R}
B34 ceees terrane eee eee Mack G. Shirley (R), Dell Raybould (R)
BS oe eeeeeeee eee ee eee JoAn E. Wood (R), Lenore Hardy Barrett (R)

FIRST ORGANIZATIONAL DAY
THURSDAY, DECEMBER 7, 2006

House of Representatives

At the hour of 9 a.m., on Thursday, December 7, 2006, the
members-elect of the House of Representatives convened in the
House Chamber of the Capitol Building in the City of Boise, with
the Honorable Bruce Newcomb, Speaker of the House of the
Fifty-eighth Legislature presiding, assisted by Pamm Juker, Chief
Clerk of the Fifty-eighth Legislature.

The Chief Clerk read the official proclamation as follows:

I, BEN YSURSA, Secretary of State of the State of Idaho and
legal custodian of the records of elections held in the State of
Idaho, do hereby certify that the following is a full, true and
complete list of those elected to serve as members of the House
of Representatives of the First Regular Session of the Fifty-ninth
Legislature, as shown by official records on file in my office:

DISTRICT NAME

Loic cece eeeec eee eeu ee Eric Anderson (R}, George E. Eskridge (R)
DQ eeeeeee eee R.F. “Dick” Harwood (R}, Mary Lou Shepherd (D)
Biceeeeeeceneeceeeceeseeeeeeeaees James W. Clatk (R), Phil Hart (R)
4c ceee eee eee ..... Marge Chadderdon (R), George C. Sayler (D)
BS iitecseeseeeeeseraeneeeee Bob Nonini (R}, Frank N. Henderson (R)
Oe eee eeepc eee ec eeeceteeseneees Tom Trail (R}, Shirley G. Ringo (D)
To cccecececnenenseeeessceeeeeteteres Liz Chavez (D), John Rusche (D}
B iseeesseeeeraeaee enone Ken A. Roberts (R), Paul E. Shepherd (R}
D ieeceeeeee ree Lawerence E. Denney (R}, Clete Edmunson (R)
LO viceeece ese ce ee ee eee ees Robert “Bob” Ring (R), Darrell Bolz (R}
LL ceeeeeeceeeree ee phrecenenengenes Steve Thayn (R}, Carlos Bilbao (R)
12 occ cece eee eeeee Robert E. Schaefer (R), Gary E. Collins (R)
Va ee eeeeesteee eee reese Brent Crane (R), W.W. “Bill” Deal (R)
14 eee ee er cttw renee Mike Moyle (R), Raul R, Labrador (R}
VS eee cece eee ene ee creer Lynn M. Luker (R), Max €. Black (R}
1G ice ceceeceeec sterner essen Margaret Henbest (D}, Les Bock (D}
VD ceeceventeeseeeepenececeeeerssresaneees Bill Killen (D), Sue Chew (D)
1B oo eee eee eee eee Branden J. Durst (D), Phylis K. King (D)
19D oi cecceeeeesseeee Anne Pasley-Stuart (D), Nicole LeFavour (D)
20 ve eeeceeeeeeee eens Mark A. Snodgrass (R), Shirley McKague (R)
21 ww. John Vander Woude (R), Clifford R. “Cliff? Bayer (R)
OD ieee ee easaeaeeaeeeeeeaeaeeaeneaees Rich Wills (R), Pete Nielsen (R}
D3 eee ec cee cececeseceeeeeneeeeeeees Jit Patrick (R), Bert Brackett (R}

DA acces ccse ec eeseeuecsenues Leon Smith (R}, Sharon L. Block (R)}

IN TESTIMONY WHEREOF, I have hereunto set my hand
and affixed the Great Seal of the State of Idaho. Done at Boise,
the Capital of Idaho, this Twenty-fourth day of November, in the
year of our Lord, two thousand and six, and of the Independence
of the United States of America, the two hundred and thirty-first.

‘si BEN YSURSA
Secretary of State

The Certificate of Election was ordered filed in the office of
the Chief Clerk.

Roll call showed all 70 members present.

At this time, Speaker Newcomb administered the oath of
office to all members-elect.

Prayer was offered by Representative Frank Henderson.

The Pledge of Allegiance was led by Representative
Frank Henderson.

There being no objection, the House advanced to the Seventh
Order of Business.

Motions, Memorials, and Resolutions

Nominations were declared in order for the Speaker of the
House.

Mr. Moyle presented in nomination the name of
Mr. Lawerence Denney. Seconded by Ms. Jaquet.

Mr. Moyle moved that nominations cease and that a
unanimous ballot be cast for Mr. Denney. Seconded by
Ms. Jaquet.

The question being, "Shall the motion carry?"

Whereupon Speaker Newcomb declared the motion carried by
voice vote and Mr. Lawerence Denney was elected Speaker of
the House.

At this time, Mr. Moyle and Ms. Jaquet escorted Mr. Denney
to the podium where the oath of office was administered to him
by the Honorable Bruce Newcomb.

